Case 6:08-cr-00205-RFD-CMH          Document 231        Filed 03/05/09   Page 1 of 10 PageID #:
                                            767



                           UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

                           LAFAYETTE-OPELOUSAS DIVISION


  UNITED STATES OF AMERICA                          *       CRIM. NO. 08CR-0205-01

  VERSUS                                            *       JUDGE DOHERTY

  DARIUS NATHANIEL FISHER                           *       MAGISTRATE JUDGE HILL

                          MEMORANDUM RULING AND ORDER

           The defendant has filed a motion to reopen the detention hearing previously held

  herein on the grounds that the defendant has found new information which has a material

  bearing on the issue of whether or not he is a danger to the community. [Record Doc.

  223]. The government opposes the motion, arguing that the defendant has no such new

  evidence. [Record Doc. 226]. For those reasons set out below, the Court grants the

  motion to reopen the detention hearing, and, after considering the newly discovered

  evidence, finds that the defendant has failed to rebut the presumption in favor of

  detention, and, therefore, the order of detention previously entered herein is continued in

  force.

           Background

           The defendant was indicted along with nine co-defendants on July 16, 2008. The

  indictment charges the defendant with multiple drug offenses including conspiracy to

  possess with intent to distribute cocaine and cocaine base (crack), possession with intent

  to distribute cocaine and engaging in a continuing criminal enterprise as an organizer,
Case 6:08-cr-00205-RFD-CMH                 Document 231          Filed 03/05/09          Page 2 of 10 PageID #:
                                                   768



  supervisor or leader. Based on these charges, the defendant faces, if convicted,

  mandatory life imprisonment. 21 U.S.C. § 848.

         The defendant was arrested in Houston, Texas and a detention hearing was held

  before Magistrate Judge Milloy on September 11, 2008. After hearing the evidence,

  Judge Milloy detained the defendant holding that, while there were probably conditions of

  release that would reasonably assure his appearance at trial, there were no conditions

  which would reasonably assure the safety of the community pending trial. [Tr. 59].1

         On October 8, 2008 the defendant moved for revocation of the detention order

  entered in Houston pursuant to 18 U.S.C. § 3145. [Record Doc. 144]. After a thorough

  review of the transcript of the detention hearing held by Judge Milloy, Judge Doherty

  denied the motion by Memorandum Ruling filed of record on December 3, 2008. [Record

  Doc. 217].

         The defendant now argues that the detention hearing should be reopened because,

  after reviewing the discovery provided by the government, he has found information that

  he did not have at the time of the original detention hearing, and that this information has

  a material bearing on the issue of whether or not the defendant is a danger to the

  community. [Record Doc. 223, page 1]. At the hearing on the motion, the government

  conceded that the defendant did not have access to the evidence in question at the time of

  the detention hearing. The government argues, however, that this information is not



         1
             The transcript of the hearing is filed in this record as Record Doc. 154.

                                                        -2-
Case 6:08-cr-00205-RFD-CMH                Document 231          Filed 03/05/09       Page 3 of 10 PageID #:
                                                  769



  “material”.

         At the detention hearing Special Agent Chad Berard, DEA (“Berard”) testified

  regarding an intercepted telephone call which had been placed by the defendant and

  which apparently referred to the defendant’s shooting two persons. Berard’s testimony

  concerning this telephone call was one of the bases on which Judge Milloy ordered

  detention and on which Judge Doherty relied to deny the defendant’s motion to revoke the

  detention order. [Record Doc. 227, page 12–13].

         The defendant argues that in spite of the Government’s argument to the contrary,

  and in spite of Berard’s testimony, that the telephone call intercepted by the government

  refers to an occasion where the defendant was acting in self-defense to prevent his being

  robbed or carjacked. In support of that argument, the defendant attached a transcript of

  the telephone call to his motion. The government also attached a transcript of the

  telephone call to its opposition.2

         At the hearing held before the undersigned on March 2, 2009, the only “new”

  evidence introduced was the transcript of the telephone call. The defendant argued that

  the testimony of Berard at the detention hearing regarding this telephone call was, at best,

  misleading, and that therefore the court should disregard the remainder of Berard’s

  testimony. Additionally, the defendant argued that the transcript of the telephone call

  does not show the defendant to be a violent person, as suggested by Berard’s testimony at



         2
             The government also attached a recording of the telephone call to its opposition.

                                                       -3-
Case 6:08-cr-00205-RFD-CMH                 Document 231           Filed 03/05/09         Page 4 of 10 PageID #:
                                                   770



  the detention hearing, but merely shows that the defendant was acting in self-defense.

  Counsel for the defendant refused to acknowledge that the telephone call made by the

  defendant, and intercepted by the government, even referred to a gun, arguing that

  supposition by the Government remained unproven.

         The government argued that the intercepted telephone call made by the defendant

  clearly referred to the defendant having shot someone with a gun.3 Further, the

  government argued that the defendant, alleged in the indictment to be a co-leader of this

  drug operation, had failed to rebut the rebuttable presumption in favor of detention

  provided by 18 U.S.C. § 3142(e).

         Law and analysis

         The court has carefully reviewed the entire transcript of the original detention

  hearing held by Judge Milloy in Houston. The evidence adduced at the hearing showed

  that the defendant was the cocaine supplier for the organization identified in the

  indictment. The government argues that the defendant was a co-leader of the

  organization, and the indictment makes that allegation. The government has confirmed

  that at least 2 kilos of cocaine was provided by the defendant to this organization, and has

  evidence of at least 3 additional kilos being provided. Additionally, approximately

  $130,000 of drug proceeds was seized by the government.




         3
             It is clear from the transcript that the defendant had a gun and used it.

                                                         -4-
Case 6:08-cr-00205-RFD-CMH          Document 231        Filed 03/05/09     Page 5 of 10 PageID #:
                                            771



         Without going into greater detail, Judge Doherty’s Memorandum Ruling details

  the Government’s evidence, which is clear and convincing, showing the defendant,

  Fisher, to be, at the very least, a large scale supplier of cocaine into the St. Martin Parish

  area. Even accepting the defendant’s argument, that is, that the shooting in which the

  defendant was involved was self-defense and not drug related, the defendant has,

  nevertheless, failed to rebut the presumption that his release would constitute a danger to

  the community.

         As Judge Doherty recognized, there was no evidence produced, either at the

  original detention hearing or at the re-opened detention hearing before the undersigned,

  that there was any condition of release available which would reasonably guarantee that

  the defendant would not continue selling drugs pending trial. As Judge Doherty

  recognized, drug trafficking has been recognized as a danger to the community by the

  Fifth Circuit. See, e.g., United States v. Hare, 873 F.2d 796 (5 th Cir. 1989) and United

  States v. Rubin, 794 F.2d 580 (5th Cir. 1992).

         The evidence adduced at the original detention hearing showed that the defendant

  was engaged in drug trafficking from his residence, using the telephone. He continued

  these activities through the date of his arrest. The “newly acquired” evidence adduced by

  the defendant does nothing to rebut the presumption that the defendant’s continued ability

  to traffic drugs through his residence would continue. At best, the transcript of the

  telephone call in question shows that the defendant acted to protect himself from a

  robbery. The fact that the defendant failed to notify local police of the attempted robbery

                                                -5-
Case 6:08-cr-00205-RFD-CMH              Document 231         Filed 03/05/09       Page 6 of 10 PageID #:
                                                772



  leads to the conclusion that the robbery may well have been drug-related.4

          Finally, the defendant argues that his presumptive pretrial incarceration of over

  one year violates the due process clause. In that regard, the defendant relies on United

  States v. Salerno, 107 S.Ct. 2095 (1987) and the following language from Hare, supra.:

          In determining whether due process has been violated, a court must consider not
          only factors relevant in the initial detention decision, such as the seriousness of the
          charges, the strength of the government's proof that the defendant poses a risk of
          flight or a danger to the community, and the strength of the government's case on
          the merits, but also additional factors such as the length of the detention that has in
          fact occurred or may occur in the future, the non-speculative nature of future
          detention, the complexity of the case, and whether the strategy of one side or the
          other occasions the delay.

  873 F.2d at 801.

          The defendant was arrested on September 9, 2008. He has been detained since that

  date. Trial in this case is scheduled for September 28, 2009. Accordingly, the defendant

  will be in pretrial detention for over one year when trial commences. The undersigned is

  very familiar with this case, having met with counsel several times and having discussed

  with counsel potential trial dates.

          Considering the factors set out by the Fifth Circuit in Hare, the court finds that the

  defendant’s due process rights are not violated by the length of pretrial detention in this

  case. First, the length of pretrial detention is non-speculative. The trial date was selected

  after conferring with all counsel with due concern that the defendants have sufficient time



          4
            Additionally, at the time of the shooting, the defendant was a convicted felon. Therefore,
  apparently, the defendant was in violation of federal law by merely possessing the weapon which he
  used, allegedly, in self-defense.

                                                     -6-
Case 6:08-cr-00205-RFD-CMH             Document 231     Filed 03/05/09     Page 7 of 10 PageID #:
                                               773



  to prepare for pretrial motion practice and for trial, given the number of defendants and

  the amount of discovery provided by the government. This discovery, of course, includes

  multiple telephone calls intercepted pursuant to a Title III authorization, as well as

  surveillance and other evidence. While it is true that at least some of the defendants

  objected to a trial date occurring after the summer of 2009, based on the calendar of

  counsel for the government as well as the court, the September 29 trial date was the

  earliest available practical date.

         The delay in this case has not been as a result of trial strategy by the government.

  Rather, the delay was caused by the complexity of the case, the number of defendants and

  the competing interests of all counsel, including counsel for the defendants. The

  government has not, in this case, unreasonably extended the period of pretrial detention.

  Immediately after the defendants were in custody, the court met with counsel to discuss

  discovery and set deadlines for the filing of pre-trail motions. [Record Doc. 211].

  Thereafter, trial was set for September 28, 2009. The Government has neither sought, nor

  gained, trial advantage by the length of pre-trial detention.

         Nevertheless, the most troubling due process issue in this case is the length of the

  pretrial detention. Here, the defendant will have remained in pretrial detention for over

  one year before his trial commences. Counsel for the defendant argues that this is

  impermissibly long under the due process clause. Counsel for the defendant has cited this

  court to no authority for that specific proposition. Similarly, counsel for the government

  has failed to cite the Court to any authority in support of its position that pretrial detention

                                                -7-
Case 6:08-cr-00205-RFD-CMH         Document 231        Filed 03/05/09    Page 8 of 10 PageID #:
                                           774



  of over one year does not violate the due process clause.

         As the Supreme Court recognized in Salerno, and as the Fifth Circuit recognized in

  Hare, the due process analysis must be made on a case-by-case basis. Nevertheless, some

  guidance can be gained from other cases which have decided this issue. See United

  States v. Ojeda Rios, 846 F.2d 167,169 (2d Cir. 1988) (32 months of pretrial incarceration

  violated the due process clause); United States v. Millan, 4 F.3d 1038, 1044 (2d Cir.

  1993) (30 to 31 months pretrial incarceration did not violate the due process clause);

  United States v. El-Gabrowney, 35 F.3d 63, 65 (2d Cir. 1986) (27 months pretrial

  detention did not violate the due process clause).

         Recently, Magistrate Judge Methvin recognized that the length of detention alone

  is not dispositive, and it carries no fixed weight in the due process analysis. United States

  v. Flores, 2007 WL 4553965, *2 (W.D. La, 2007) citing, United States v. Zannino, 798

  F.2d 544, 548-49 (1 st Cir. 1986). The undersigned agrees with Judge Methvin’s analysis.

         The undersigned has been unable to locate any case holding that pretrial detention

  of one year, in the absence of governmental misconduct, requires release of the defendant

  when detention is otherwise proper. Here, as set out above, the government has

  extremely strong evidence to show that the defendant was, at the very least, a large scale

  supplier of cocaine into St. Martin Parish. The government’s evidence further shows

  large amounts of money in the possession of the defendant; on at least one occasion the

  defendant had possession of a firearm which he used.




                                               -8-
Case 6:08-cr-00205-RFD-CMH          Document 231       Filed 03/05/09     Page 9 of 10 PageID #:
                                            775



         Here, the government has a clearly nonpunitive reason for the detention, and the

  detention here does not appear excessive in relation to this nonpunitive purpose, that is,

  the protection of the community. Milan, 4 F.3d at 1043, and the cases cited hterein.

          Given the complexity of the case, the number of defendants and counsel and the

  volume of the discovery, the defendant has failed to show any due process violation

  results from his pre-trial detention. Should the case be further continued and the trial date

  postponed, the defendant is free to again urge that, at that time, his pre-trial detention

  violates the due process clause. Until then, the detention order previously entered herein

  will remain in force.

         IT IS SO ORDERED.

         March 5, 2009, Lafayette, Louisiana.




                                                -9-
Case 6:08-cr-00205-RFD-CMH   Document 231   Filed 03/05/09   Page 10 of 10 PageID
                                   #: 776




                                    -10-
